   Case 1:10-cr-00219-WMS-HKS          Document 347       Filed 09/22/16    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                DECISION AND ORDER
                                                             10-CR-219S (1)
TONAWANDA COKE CORPORATION and
MARK L. KAMHOLZ,

                            Defendants.


        On August 9, 2016, this Court entered a Decision and Order directing the two

community service projects identified in the judgment to submit Statements of Readiness

to accept funds out of the Court Registry Fund. (Docket No. 344.) The studies have

submitted their statements and they have been filed on the docket. (Docket Nos. 345,

346.)   Therein, each study indicates that it is ready to commence (or has already

commenced) its study and that it is prepared to accept the payments out of the Court

Registry Fund. Accordingly, the Clerk of Court will be directed to disburse the funds to the

studies.

        IT HEREBY IS ORDERED, that the Clerk of Court is directed to disburse

$5,550,167 out of the Court Registry Fund to the University at Buffalo Tonawanda Health

Study c/o The Research Foundation for the State University of New York, University at

Buffalo, consistent with the judgment in this case.

        FURTHER, that Defendant Tonawanda Coke Corporation shall pay the remaining

three installment payments by the dates due directly to the University at Buffalo

Tonawanda Health Study c/o The Research Foundation for the State University of New

York, University at Buffalo, consistent with the judgment in this case.
   Case 1:10-cr-00219-WMS-HKS           Document 347      Filed 09/22/16    Page 2 of 2




         FURTHER, that the Clerk of Court is directed to disburse $711,161 out of the Court

Registry Fund to the University at Buffalo Soil Sample Study c/o The Research Foundation

for the State University of New York, University at Buffalo, consistent with the judgment in

this case.

         FURTHER, that in accordance with 28 U.S.C. § 1914 and the guidelines set by the

Director of the Administrative Office of the United States Courts, the Clerk of Court is

directed to deduct 10 percent of the income earned on the money in the Court Registry

Fund and deposit it into the United States Treasury.

         FURTHER, that the Clerk of Court is directed to disburse the remaining 90 percent

of the income earned on the money in the Court Registry Fund on a proportional basis to

the University at Buffalo Tonawanda Health Study and the University at Buffalo Soil

Sample Study.

         SO ORDERED.


Dated:         September 22, 2016
               Buffalo, New York



                                                          s/William M. Skretny
                                                         WILLIAM M. SKRETNY
                                                        United States District Judge




                                             2
